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  Attorneys for Hartford Fire Insurance Company

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

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  VALEANT PHARMACEUTICALS                                        :
  INTERNATIONAL, INC.; VALEANT                                   :
  PHARMACEUTICALS INTERNATIONAL; and :
  AGMS, INC.,                                                    :
                                                                 :
                                      Plaintiffs,                :
                                                                 :
                             v.                                  :
                                                                 : Civil Action. No:
  AIG INSURANCE COMPANY OF CANADA;                               : 3:18-CV-00493 (MAS) (LHG)
  ACE INA INSURANCE COMPANY; ALLIANZ :
  GLOBAL RISKS US INSURANCE COMPANY; :
  ARCH INSURANCE CANADA LTD; EVEREST :
  INSURANCE COMPANY OF CANADA;                                   : STIPULATION AND CONSENT
  HARTFORD FIRE INSURANCE COMPANY;                               : ORDER OF VOLUNTARY
  IRONSHORE CANADA LTD; LIBERTY                                  : DISMISSAL WITH PREJUDICE AND
  INTERNATIONAL UNDERWRITERS, a division : WITHOUT FEES OR COSTS
  of LIBERTY MUTUAL INSURANCE                                    :
  COMPANY; and LIBERTY MUTUAL                                    :
  INSURANCE COMPANY; LLOYD’S                                     :
  UNDERWRITERS; LLOYD’S CONSORTIUM                               :
  9885 (a/k/a STARR FINANCIAL LINES                              :
  CONSORTIUM 9885); LLOYD’S SYNDICATE :
  ANV 1861; LLOYD’S SYNDICATE AMA 1200; :
  LLOYD’S SYNDICATE ARGO 1200; LLOYD’S :
  SYNDICATE AWH 2232; LLOYD’S                                    :
  SYNDICATE BRT 2987; LLOYD’S SYNDICATE :
  CVS 1919; LLOYD’S SYNDICATE HCC 4141; :
  LLOYD’S SYNDICATE MITSUI 3210;                                 :
  LLOYD’S SYNDICATE MIT 3210; LLOYD’S                            :
  SYNDICATE NAV 1221; LLOYD’S                                    :


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  SYNDICATE QBE 1886; LLOYD’S                                    :
  SYNDICATE SJC 2003; ROYAL & SUN                                :
  ALLIANCE INSURANCE COMPANY OF                                  :
  CANADA; TEMPLE INSURANCE COMPANY                               :
  and XL INSURANCE COMPANY SE.,                                  :
                                                                 :
                                      Defendants.                :
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           IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

  counsel for plaintiffs Valeant Pharmaceuticals International, Inc., Valeant Pharmaceuticals

  International and AGMS, Inc. (collectively, “Plaintiffs”) and defendant Hartford Fire Insurance

  Company (“Hartford”), and Ordered by the Court, that all claims and counterclaims by and

  between Plaintiffs and Hartford are hereby DISMISSED WITH PREJUDICE with each of the

  Stipulating Parties to bear its own attorneys’ fees and costs. This stipulation does not apply to

  Plaintiffs’ claims against any other Defendant in this litigation.

  SO ORDERED AND ENTERED:

  This 12th day of April, 2023


                                                                 _______________________________
                                                                 Hon. Michael A. Shipp, U.S.D.J.


  CONSENTED BY:

  MCCARTER & ENGLISH, LLP                                        KAUFMAN BORGEEST & RYAN LLP
  DENTONS US LLP
                                                                 By: /s/ Robert A. Benjamin
  By: /s/ Sherilyn Pastor                                        Robert A. Benjamin
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                                                                 Company

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